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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

BRADLEY TOSTON ex rel.,
CITY OF TAMPA,

      Plaintiff,

v.                                                      Case No: 8:22-cv-01926-KKM-MRM

D&M ASSETS 1 LLC, a Florida limited
liability company, STEVEN P. WEDGE,
and LEI XUAN WEDGE,

     Defendants.
___________________________________/

                      DEFENDANTS’ ANSWER
           TO PLAINTIFF’S AMENDED COMPLAINT [DOC. 24]

      Defendants, D&M ASSETS 1 LLC, a Florida limited liability company

(“D&M”), STEVEN P. WEDGE (“S. Wedge”), and LEI XUAN WEDGE (“L.

Wedge”) (“Defendants”), by and through their undersigned counsel, answer

Plaintiff’s, BRADLEY TOSTON, ex rel., CITY OF TAMPA (“Plaintiff”)

Amended Complaint (Doc. 24), as follows:

                             EXECUTIVE SUMMARY

      This Answer is filed in an abundance of caution and not as a consent or waiver

of any claim, defense or continuation of this proceeding. The parties have reached




                     721 First Avenue North • St. Petersburg, Florida 33701
                          Phone (727) 898 -7210 • Fax (727) 898 -7218

                                          eflegal.com
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an accord, which has been filed with this Court [Doc. 46] and have requested this

Honorable Court to approve the settlement agreement [Doc. 45]. This Court was

gracious to give the Defendants an extension of time to file a response until August

21, 2023 [Doc. 39] while the parties work out a settlement agreement. The case has

not yet been dismissed and the settlement agreement has not yet been approved.

Therefore, the Defendants file this Answer in an abundance of caution to avoid

default. Any response not specifically admitted is denied.

                             SPECIFIC RESPONSES

      1.     Admitted that the Amended Complaint seeks to bring such claims, but

denied that such claims exist.

      2.     Admitted that the Amended Complaint seeks to bring such claims, but

denied that such relief is appropriate, warranted, permitted, or justiciable.

      3.     Admitted that the City of Tampa is making allegations of

discrimination, but otherwise denied.

      4.     Admitted that this Court has jurisdiction, but otherwise denied.

      5.     Denied. Plaintiff’s state court claims were dismissed. [Doc. 37].

      6.     Admitted that the venue is appropriate, but otherwise denied.

      7.     Admitted.




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      8.     Admitted that Mr. Toston is a natural person. Without knowledge as to

whether he resided in Hillsborough County, Florida or qualified as a person with a

disability, and therefore denied.

      9.     Admitted.

      10.    Denied.

      11.    Admitted.

      12.    Admitted that D&M owns a single-family rental dwelling. Otherwise

denied.

      13.    Admitted.

      14.    Denied as plead.

      15.    Without knowledge concerning any details concerning Mr. Toston’s

service animal and therefore denied.

      16.    Denied.

      17.    Denied.

      18.    Denied.

      19.    Admitted.

      20.    Denied.

      21.    Denied.

      22.    Denied.

      23.    Denied.


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      24.   Admitted that Mr. Toston made a complaint, but otherwise denied.

      25.   Admitted.

      26.   Admitted.

      27.   Admitted.

      28.   Without knowledge, and therefore denied.

      29.   Denied.

      30.   Denied that TOHR made a thorough investigation or determined

reasonable cause existed. TOHR voted two against and three in favor of reasonable

cause to believe that Defendants had a policy to treat all dogs the same by charging

a pet deposit. Not only was there no discrimination, but Mr. Toston was not an

aggrieved person as the issue of a pet deposit never came-up because Mr. Toston

was not a qualified applicant. Mr. Toston had only recently filed bankruptcy, his

income was almost the amount of rent plus utilities, and he recently had a

foreclosure. Mr. Toston was a significant credit risk and did not have sufficient

income.

      31.   Denied.

      32.   Admitted that damages and other remedies are sought, but otherwise

denied.

      33.   Denied.

      34.   Admitted.


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      35.    Admitted that an investigation was conducted, but denied that it was

conducted appropriately. Admitted that there was an attempt to conciliate. Otherwise

denied.

      36.    Denied that TOHR made a thorough investigation or determined

reasonable cause existed. TOHR voted two against and three in favor of reasonable

cause to believe that Defendants had a policy to treat all dogs the same by charging

a pet deposit. Not only was there no discrimination, but Mr. Toston was not an

aggrieved person as the issue of a pet deposit never came-up because Mr. Toston

was not a qualified applicant. Mr. Toston had only recently filed bankruptcy, his

income was almost the amount of rent plus utilities, and he recently had a

foreclosure. Mr. Toston was a significant credit risk and did not have sufficient

income.

      37.    Admitted that there was a determination on a vote of two to three that

there was reasonable cause for discrimination, but otherwise denied.

      38.    Without knowledge, therefore denied.

                                    COUNT I

      39.    Defendants respond to allegations one through thirty-eight as though

fully set forth herein.

      40.    Denied.

      41.    Denied.


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      42.    Denied.

      43.    Denied.

      44.    Denied.

      45.    Denied.

      46.    Denied.

      47.    Denied.

      48.    Denied.

      49.    Denied.

      50.    Denied as no accommodation was requested. Mr. Toston did not qualify

to rent the property due to a bankruptcy, foreclosure and inadequate income.

      51.    Denied. In particular, Mr. Steven P. Wedge had nothing to do with any

portion of rental, never met Mr. Toston, never spoke to Mr. Toston, never reviewed

an application, and consulted with Mrs. Wedge about the situation. He does not own

any portion of the defendant D&M nor does he have a say concerning applicants.

      52.    Denied.

                                    COUNT II

      53.    Defendants respond to allegations one through fifty-two as though fully

set forth herein.

      54.    Denied.

      55.    Denied.


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      56.    Denied.

      57.    Denied.

      58.    Denied.

      59.    Denied.

      60.    Denied.

      61.    Denied.

      62.    Denied. In particular, Mr. Steven P. Wedge had nothing to do with any

portion of rental, never met Mr. Toston, never spoke to Mr. Toston, never reviewed

an application, and consulted with Mrs. Wedge about the situation. He does not own

any portion of the defendant D&M nor does he have a say concerning applicants.

      63.    Denied.

      64.    Denied as no accommodation was requested. Mr. Toston did not qualify

to rent the property due to a bankruptcy, foreclosure and inadequate income.

      65.    Denied.

                                     COUNT III

      Count III was dismissed. Therefore no response is required. To the extent any

response is required, all allegations are denied.

                                     COUNT IV

      Count IV was dismissed. Therefore no response is required. To the extent any

response is required, all allegations are denied.


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                           AFFIRMATIVE DEFENSES

                             First Affirmative Defense

      As a full and complete affirmative defense to Counts I and II, Defendants

allege that the claims are barred by the statute of limitations.

                                   CONCLUSION

      WHEREFORE, Defendants pray this Honorable Court will deny all relief

requested by Plaintiff and find no liability. Defendants request attorneys fees and

costs awarded against the Plaintiff. In particular, this claim was brought against Mr.

Steven Wedge without any basis and was not brought in good faith as Mr. Wedge

had no communication, activity, presence, decision making, or connection to this

action. Mr. Wedge is not an owner of D&M and did not participate in any activity

with Mr. Toston.

      Dated: August 21, 2023

                                        ENGLANDER FISCHER

                                        /s/ David S. Delrahim
                                        DAVID S. DELRAHIM
                                        Florida Bar No. 66368
                                        Primary: ddelrahim@eflegal.com
                                        Secondary: kfleming@eflegal.com
                                        ENGLANDER FISCHER
                                        721 First Avenue North
                                        St. Petersburg, Florida 33731-1954
                                        Tel: (727) 898-7210 /Fax: (727) 898-7218
                                        Counsel for Defendants



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                         CERTIFICATE OF SERVICE

      I CERTIFY that on this 21st day of August, 2023, a true and correct copy of

the foregoing has been electronically filed via CM/ECF which will send a notice to

all counsel of record.

 Carl Brody, Esquire
 Office of the City Attorney
 City of Tampa, Florida
 315 E Kennedy Blvd 6th Floor
 Tampa, FL 33602
 Carl.Brody@tampagov.net
 Shawny.Tim@tampagov.net
 Counsel for Plaintiff, City of Tampa

                                        /s/ David S. Delrahim
                                        DAVID S. DELRAHIM
                                        Florida Bar No. 66368




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